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15
   Attorneys for Defendant Monsanto
16 Company
17                     UNITED STATES DISTRICT COURT
18                   NORTHERN DISTRICT OF CALIFORNIA
19
   IN RE: ROUNDUP PRODUCTS               MDL No. 2741
20 LIABILITY LITIGATION,
                                         Case No. 3:16-md-02741-VC
21
   Estate of Ramón Berrios-Sampler,      DECLARATION IN SUPPORT OF
22 represented by represented by         MOTION FOR SUMMARY JUDGMENT
   Ramón Berrios Rivera,                 ON CAUSATION GROUNDS
23 3:22-cv-02310-VC
24                                       Hearing:
                                         Date: August 29, 2024
25                                       Time: 2:00 p.m.
                                         Place: Courtroom 4 (Via Zoom)
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           DECLARATION IN SUPPORT OF MONSANTO’S MOTION FOR SUMMARY JUDGMENT
     Case 3:16-md-02741-VC Document 18799-1 Filed 07/10/24 Page 2 of 3



 1                         DECLARATION OF JED P. WHITE
 2         I, Jed P. White, declare as follows:
 3         1.    I am an attorney at law admitted to practice before all of the courts in the
 4 state of California. I am an attorney with the law firm Bryan Cave Leighton Paisner
 5 LLP, counsel of record for Defendant Monsanto Company (“Monsanto”) in the
 6 above-referenced action. I am over eighteen years of age and am fully competent to
 7 make this Declaration in support of Monsanto’s Motion for Summary Judgment on
 8 Causation Grounds. Except where otherwise stated, I have personal knowledge of the
 9 following, and if called upon to testify as a witness, I could and would competently
10 testify to the matters stated herein.
11         2.    This Court ordered that all Wave 7G plaintiffs, which includes Plaintiff
12 in this case, must submit expert reports no later than June 7, 2024. (MDL ECF
13 #17234).
14         3.    Plaintiff did not submit an expert report regarding specific causation by
15 June 7, 2024. Specifically, Plaintiff has not served any expert report containing case-
16 specific evidence of a causal link between Roundup and Plaintiff’s cancer.
17         I hereby declare under penalty of perjury under the laws of the State of
18 California that the foregoing is true and correct.
19         Executed on July 10, 2024, in Santa Monica, California.
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                                            Jed P. White
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
     Case 3:16-md-02741-VC Document 18799-1 Filed 07/10/24 Page 3 of 3



 1                            CERTIFICATE OF SERVICE
 2        I hereby certify that on July 10, 2024, I electronically filed the foregoing with
 3 the Clerk of the Court by using the CM/ECF system which will send a notice of
 4 electronic filing (NEF) to all counsel of record who are CM/ECF participants.
 5
                                           /s/ Jed P. White
 6                                         Jed P. White
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                         MONSANTO’S MOTION FOR SUMMARY JUDGMENT
